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                        EXHIBIT 5
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Document (1)

 1. Meznarich v. Morgan Waldron Ins. Mgmt. LLC, 2012 U.S. Dist. LEXIS 18403
  Client/Matter: Craft/Jackson




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                        Meznarich v. Morgan Waldron Ins. Mgmt. LLC
                    United States District Court for the Northern District of Ohio, Eastern Division
                                February 14, 2012, Decided; February 14, 2012, Filed
                                                CASE NO. 1:10CV2532

Reporter
2012 U.S. Dist. LEXIS 18403 *; 2012 WL 487963


Frank J. Meznarich, SR., et al., Plaintiffs, v. Morgan       For PNC, Investments, LLC, Defendant: Bradley S.
Waldron Insurance Management LLC, et al.,                    Tupi, Danielle L. Dietrich, Tucker & Arensberg,
Defendants.                                                  Pittsburgh, PA; Joyce Goldstein, Goldstein Gragel,
                                                             Cleveland, OH; Michael A. Shiner, PRO HAC VICE,
                                                             Tucker & Arensberg, Pittsburgh, PA.

Prior History: Meznarich v. Morgan Waldron Ins.
                                                             For The PNC Financial Services Group, Inc., Defendant:
Mgmt., LLC, 2011 U.S. Dist. LEXIS 113237 (N.D. Ohio,
                                                             Bradley S. Tupi, Danielle L. Dietrich, Tucker &
Sept. 30, 2011)
                                                             Arensberg, Pittsburgh, PA; Joyce [*2] Goldstein, Susan
                                                             L. Gragel, Goldstein Gragel, Cleveland, OH; Michael A.
                                                             Shiner, PRO HAC VICE, Tucker & Arensberg,
                                                             Pittsburgh, PA.
Core Terms
withdraw, parties, motion to withdraw, underfunding,         For American Workers Master Benefit Plan, Inc.,
unpaid, deny a motion, discovery, lawsuit                    American Workers Master Benefit Plan For Employees
                                                             Of First Energy Corporation Represented By Local 270
                                                             Of UWUA, Morgan Waldron Insurance Management
                                                             LLC, 3rd Party Plaintiffs: Bradley S. Tupi, LEAD
Counsel: [*1] For Frank J. Meznarich, Sr., Cale B.           ATTORNEY, Danielle L. Dietrich, Tucker & Arensberg,
Pearson, Patrick Shutic, Plaintiffs: Joyce Goldstein,        Pittsburgh, PA; Joyce Goldstein, Goldstein Gragel,
LEAD ATTORNEY, Susan L. Gragel, Teresa R. Pofok,             Cleveland, OH; Michael A. Shiner, PRO HAC VICE,
Goldstein Gragel, Cleveland, OH.                             Tucker & Arensberg, Pittsburgh, PA.


For Morgan Waldron Insurance Management LLC,                 For First Energy Corporation, 3rd Pty Defendant:
Beverly Morgan, James Waldron, American Workers              Christopher S. Williams, Colleen M. O'Neil, LEAD
Master Benefit Plan, Inc., American Workers Master           ATTORNEYS, Jeffrey J. Lauderdale, Calfee, Halter &
Benefit Trust - UWUA Local 270, Defendants: Bradley          Griswold - Cleveland, Cleveland, OH; Joyce Goldstein,
S. Tupi, LEAD ATTORNEY, Danielle L. Dietrich, Tucker         Goldstein Gragel, Cleveland, OH.
& Arensberg, Pittsburgh, PA; Joyce Goldstein, Goldstein
Gragel, Cleveland, OH; Michael A. Shiner, PRO HAC            For Utility Workers Union of America, Local 270, 3rd Pty
VICE, Tucker & Arensberg, Pittsburgh, PA.                    Defendant: Susan L. Gragel, LEAD ATTORNEY, Joyce
                                                             Goldstein, Goldstein Gragel, Cleveland, OH.
For American Workers Master Benefit Plan For
Employees Of First Energy Corporation Represented By         For United Medical Resources, Inc., 3rd Pty Defendant:
Local 270 Of UWUA, Defendant: Bradley S. Tupi, LEAD          Christopher Flynn, PRO HAC VICE, Michael W.
ATTORNEY, Danielle L. Dietrich, Tucker & Arensberg,          Lieberman, Crowell & Moring - Washington,
Pittsburgh, PA; Joyce Goldstein, Goldstein Gragel,           Washington, DC; Deborah A. Coleman, Hahn, Loeser &
Cleveland, OH.

                                                   Maddy Sinkovich
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Parks - Cleveland, Cleveland, OH; Joyce Goldstein,             Soon thereafter, First Energy informed the Court that it
Goldstein Gragel, [*3] Cleveland, OH.                          would agree to fund the Plan's outstanding claims in
                                                               return for the parties' agreement that FirstEnergy would
                                                               be able to seek recompense from Morgan Waldron
                                                               and/or other parties whom may have caused the
Judges: Benita Y. Pearson, United States District              underfunding. In order to facilitate this proposal, the
Judge.                                                         Court delayed the briefing schedule, and convened
                                                               several conferences to aid the parties in developing a
                                                               process whereby FirstEnergy's funds would be used to
                                                               pay outstanding medical claims.
Opinion by: Benita Y. Pearson
                                                               On June 7, 2011, the Court entered an Order, which
                                                               memorialized the arrangement to process the unpaid
                                                               claims. ECF No. 92. The Order also specifically
                                                               reserved certain rights to FirstEnergy. Relevant here,
Opinion                                                        Paragraph 9 of the Agreed Order expressly addressed
                                                               FirstEnergy's standing to seek recovery from Morgan
                                                               Waldron:

MEMORANDUM OF OPINION AND ORDER                                    9. The parties' compliance with this Order does not
                                                                   constitute any admission of liability or the validity of
[Resolving ECF No. 108]
                                                                   any of the claims or defenses raised in the litigation.
                                                                   All parties reserve their rights regarding claims and
                                                                   defenses raised [*5] in this litigation. Further, all
I. INTRODUCTION
                                                                   Parties reserve the right, at the appropriate time, to
Before the Court is the Motion to Withdraw as Counsel              seek reimbursement for any costs or expenses
(ECF No. 108) filed by Tucker Arensberg, P.C.                      related to this Order and its execution. Furthermore,
("Counsel"), attorney for Defendants/Third Party                   FirstEnergy has agreed to lend money to fund the
Plaintiffs Morgan Waldron Insurance Management LLC,                ERISA Plan at issue with the expectation that it will
Beverly Morgan, and James Waldron (collectively                    be able to pursue a recovery from any and all
"Morgan Waldron"). Third Party Defendants, FirstEnergy             persons who may be responsible for the
Corporation ("FirstEnergy") opposes the motion. ECF                underfunding and losses suffered by the ERISA
No. 109. After reviewing the motion and the responsive             Plan. FirstEnergy, therefore, has standing, up to the
brief, the Court denies the motion for the reasons                 amount it contributes to the Plan, to bring and
discussed below.                                                   pursue claims, whether brought under ERISA or
                                                                   otherwise, against any persons who may be liable
                                                                   for the Plan's losses.
II. BACKGROUND
                                                               ECF No. 92 at 3-4.
Plaintiffs, Frank J. Meznarich, Sr., Patrick Shutic, and
                                                               On December 19, 2011, the parties moved the Court for
Cale B. Pearson (collectively, "Plaintiffs"), initiated this
                                                               a conference to discuss the status of the processing of
class action lawsuit on behalf of themselves and other
                                                               claims. ECF No. 104. After the Court was notified that
union members against Morgan Waldron on November
                                                               the overwhelming majority of the unpaid claims had
5, 2010. ECF No. 1. In their Amended Complaint,
                                                               been paid, the Court informed the parties that the focus
Plaintiffs alleged that Morgan Waldron, in their
                                                               of the case would return to resolving the underlying
capacities as Plan Administrators and/or fiduciaries of
                                                               legal issues of the case, including determining which
an ERISA benefit plan ("the Plan") caused a severe
                                                               parties were liable for the underfunding of the Plan.
underfunding of the Plan such that routine claims by
                                                               Pursuant to this discussion, on January 17, 2011, the
participants were going unpaid. ECF No. 19. Morgan
                                                               Court issued a scheduling order, which indicated that
Waldron responded by denying these [*4] allegations
                                                                [*6] discovery would commence on February 13, 2012,
and by filing a Third Party Complaint (ECF No. 39)
                                                               and that a cutoff for filing dispositive motions would
against FirstEnergy-employer of Plaintiffs, and two other
                                                               soon follow. ECF No. 106.
Third Party Defendants.

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On January 20, 2012, Counsel filed the instant motion           and obtain substitute Counsel. ECF No. 109. The Court
formally requesting to withdraw as Morgan Waldron's             agrees.
Counsel.1 In the motion, Counsel informed the Court
that on November 28, 2011, Magistrate Judge Robert
Mitchell of the United States District Court for the            III. STANDARD
Western District of Pennsylvania ruled in favor of
Morgan Waldron's insurers against Morgan Waldron in a           Attorney withdrawal issues are committed to the court's
declaratory judgment action. See ACE Capital Ltd. v.            discretion. See Gerber v. Riordan, 2011 U.S. Dist.
Morgan Waldron. Ins. Mgmt., LLC, 832 F. Supp. 2d 554,           LEXIS 136283, *3 (N. D. Ohio 2011) (citing Brandon v.
2011 U.S. Dist. LEXIS 135902 (W.D. Pa. Nov. 28,                 Blech, 560 F.3d 536, 537 (6th Cir. 2009)). And, when
2011). That Court specifically ruled that Morgan                ruling on a motion to withdraw, the court looks to the
Waldron's insurers did not owe a duty to provide                rules governing attorneys' professional conduct for
defense or indemnification with respect to the                  guidance. See Brandon, 560 F.3d at 537-38.
Pennsylvania litigation and an additional lawsuit
involving Morgan Waldron. Counsel further indicated             Under Rule 83.9 of the Local Rules for the United States
that the decision had not been appealed, and, as a              District Court for the Northern District of Ohio, "[t]he
result of that ruling, Morgan Waldron would not have            attorney of record may not withdraw, . . . without first
insurance coverage with respect to the liabilities              providing written notice to the client and all other parties
                                                                and obtaining leave of Court." Concomitantly, the Ohio
asserted against them in the instant action nor with
                                                                Rules of Professional Conduct, which also govern in this
respect to the legal fees incurred in defending this
action. Id. Of course, Counsel is well aware, that the          proceeding,2 provide that an attorney may withdraw
Pennsylvania [*7] district court ruling is not binding on       from representation when any of the following apply:
this Court.
                                                                    (1) withdrawal can be accomplished without
As an additional ground for withdrawal, Counsel stated              material adverse [*9] effect on the interests of the
that Morgan Waldron presently owed Counsel a                        client;
substantial amount for legal services, and that they                (2) the client persists in a course of action involving
could not continue to represent their client if they have           the lawyer's services that the lawyer reasonably
not paid their legal fees in accordance with the parties'           believes is illegal or fraudulent;
engagement agreement. ECF No. 108 at 1-2.                           (3) the client has used the lawyer's services to
                                                                    perpetrate a crime or fraud;
On January 31, 2012, FirstEnergy filed a brief opposing             (4) the client insists upon taking action that the
Counsel's request to withdraw, asserting that it would be           lawyer considers repugnant or with which the
unfairly prejudiced by Counsel's withdrawal. ECF No.                lawyer has a fundamental disagreement;
109. FirstEnergy argued that Counsel's withdrawal                   (5) the client fails substantially to fulfill an obligation,
would only cause further delays and leave FirstEnergy               financial or otherwise, to the lawyer regarding the
without means to conduct the discovery it needs to                  lawyer's services and has been given reasonable
prove its claims. FirstEnergy reminded the Court that it            warning that the lawyer will withdraw unless the
willingly invested over one million dollars in the                  obligation is fulfilled;
underfunded Plan, without an obligation to do so, in                (6) the representation will result in an unreasonable
exchange for the ability to seek recompense from                    financial burden on the lawyer or has been
Morgan Waldron and/or other persons responsible for                 rendered unreasonably difficult by the client;
the Plan's underfunding. Thus, First Energy contends                (7) the client gives informed consent to termination
that it would be unfair to allow Counsel to withdraw,               of the representation;
 [*8] soon after Morgan Waldron benefited from                      (8) the lawyer sells the law practice in accordance
FirstEnergy's generosity, and before FirstEnergy obtains            with Rule 1.17;
its recompense. FirstEnergy, therefore, requested that              (9) other good cause for withdrawal exists.
the Court deny the motion to withdraw until such time as
Morgan Waldron executes a stipulated case schedule              Ohio Prof. Cond. Rule 1.16.


1 Counsel   had informed the Court of its intention to seek
withdrawal during the telephonic status conference held a few
days prior, on January 13, 2012.                                2 See   Ohio Fed. Dist. Ct. (N.D.), Civ. LR Rule 83.7.

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IV. DISCUSSION                                                   Additionally, the current stage of litigation suggests that
                                                                 counsel's withdrawal will have a irreparable and
Counsel appears to have satisfied the criteria for               unavoidable prejudicial effect on the parties involved.
withdrawal under each set of rules. According to                 See Buschmeier v. G&G Invs., Inc., 222 Fed. Appx.
Counsel's representations to the Court, the Morgan               160, 164 (3d Cir. 2007) [*12] ("One factor to consider in
Waldron [*10] Defendants are not paying their legal              any prejudice analysis is the stage of litigation."). As
fees, which clearly amounts to a substantial failure to          illuminated by First Energy's brief in opposition, this
fulfill a financial obligation owed to Counsel under Ohio        case has already been pending for a substantial length
Rule 1.16(b)(5). And, given that Counsel has indicated           of time due to the parties involvement in processing
its intention to withdraw by filing the instant motion and       payments for the unpaid medical claims. Pursuant to the
informing its clients of such through written and                Court's January 17, 2012 Order, effective February 13,
telephonic communication, Counsel has complied with              2012, the moratorium on discovery has been lifted,
the notice requirements of both Local Rule 83.9 and              allowing the parties to prepare for the for the eventual
Rule 1.16(b)(5). ECF No. 108 at 2-3.                             filing of dispositive motions. ECF No. 106. Withdrawal
                                                                 by Counsel at this crucial stage would, minimally,
The analysis does not, however, end here. The Sixth
                                                                 severely hamper the ability of the Morgan Waldron
Circuit Court of Appeals has found that satisfying the
                                                                 Defendants to participate in the discovery process and,
rules of professional conduct does not guarantee a right
                                                                 at worst, completely halt the ongoing litigation and
to withdraw. See Brandon v. Blech, 560 F.3d 536, 538
                                                                 leaving the Court without the ability to effectively
(6th Cir. 2009). Rather, compliance merely confirms that
                                                                 communicate with Morgan Waldron LLC-a central player
the withdrawal is "presumptively appropriate." Id.
                                                                 in this dispute. Compare Brandon, 560 F.3d at 538
Moreover, this presumption can be rebutted by a
                                                                 (finding that withdrawal of counsel would not amount to
showing that counsel's withdrawal would be unfairly
                                                                 severe prejudice because, even though the party would
prejudicial to any party or would amount to "strategically
                                                                 be without counsel, the case remained inactive, with no
timed or coercive behavior." Id. at 538 (citing Fid. Nat'l
                                                                 imminent deadlines).
Title Ins. Co. v. Intercounty Nat'l Title Ins. Co., 310 F.3d
537, 540-41 (7th Cir. 2002). The Court finds that both
                                                                 While not wishing to disparage Counsel, it can be
showings are present in the instant case and heavily
                                                                 reasonably said that Counsel's efforts to withdraw at this
weigh in favor of denying the motion [*11] to withdraw.
                                                                 juncture amounts [*13] to opportunistic behavior, which
                                                                 arguably provides the Court with an additional basis
With respect to prejudice, it is evident that Counsel's
                                                                 upon which to deny Counsel's request. See Brandon,
withdrawal would burden the litigants in this lawsuit,
                                                                 560 F.3d at 538 (stating that "attorneys may forfeit the
including Counsel's clients-Morgan Waldron. In federal
                                                                 right to withdraw when they engage in strategically-
courts, a corporation must be represented by Counsel,3
                                                                 timed or coercive behavior"). As highlighted by First
and this requirement cannot be waived. See Rowland v.
                                                                 Energy, the Court finds it striking that Counsel seeks to
California Men's Colony, 506 U.S. 194, 202, 113 S. Ct.
                                                                 withdraw soon after First Energy fund's satisfied the
716, 121 L. Ed. 2d 656 (1993) ("a corporation may
                                                                 unpaid claims and just prior to start of discovery. Thus,
appear in the federal courts only through licensed
                                                                 Counsel's request to withdraw could arguably be viewed
counsel"). Therefore, given that at least one of the
                                                                 as a strategic move, committed on behalf of Morgan
Morgan Waldron Defendants is a corporate entity,
                                                                 Waldron, to specifically coerce the parties into
Counsel's withdrawal would inevitably stifle that party's
                                                                 dismissing the lawsuit, or perhaps more generally, to
ability to participate in the scheduled litigation efforts. As
                                                                 eschew the responsibility of staying actively involved in
to the non-corporate Morgan Waldron parties to whom
                                                                 this litigation. After all, Counsel's motion only indicates
this rule does not apply, one cannot help but to draw the
                                                                 that Morgan Waldron has not paid, which is drastically
same conclusion. The record before the Court lacks any
                                                                 different from informing the Court that Morgan Waldron
indication that the individual Morgan Waldron
                                                                 does not possess the ability to pay or perhaps has
Defendants possess the knowledge or ability to prepare
                                                                 refused to do so.4 Additionally, the Court finds it
their case pro se or effectively represent themselves
during the remainder of the lawsuit.                             concerning that the Morgan Waldron Defendants have
                                                                 not appealed the decision of the Pennsylvania


                                                                 4 The motion simply notes that Defendants remain unable to
3 See   28 U.S.C. § 1654.                                        meet their financial [*14] obligation.

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Magistrate Judge.
                                                               End of Document
While ultimately the Court cannot ascertain the true
motive for Counsel's motion to withdraw, the Court
remains confident that if the request were granted at this
juncture, FirstEnergy will most certainly be decidely
disadvantaged in seeking recompense, to the extent
that is even possible. See Fidelity, 310 F.3d at 541
(stating "severe prejudice to third parties-who might
have more to lose than the unpaid lawyer-is another
potential ground for denying a motion to withdraw" and
that "a judge may insist that counsel resolve differences
with clients in a fashion that curtails strangers' avoidable
losses.").

Thus, in light of the foregoing, Counsel's motion is
denied. Counsel may renew its motion to withdraw when
circumstances change such that (1) the aforementioned
factors no longer strongly weigh in favor of denying
withdrawal or (2) replacement counsel enters an
appearance.

The Court is fully aware that there are policy reasons
supporting withdrawal under circumstances in which a
client has not met its financial obligations to an attorney.
Compare Brandon, 560 F.3d at 539 (finding that the
district court abused its discretion in denying counsel's
motion to withdraw because [*15] the Court failed to
identify countervailing prejudicial concerns that
supported denying the motion). The Court does not find
that those policy reasons dictate here. The
overwhelming concerns of prejudice heavily weigh in
favor of not permitting Counsel to withdraw from these
proceedings before replacement Counsel has made an
appearance.


V. CONCLUSION

For the reasons discussed above, Counsel's motion to
withdraw is DENIED.

IT IS SO ORDERED.

February 14, 2012

Date

/s/ Benita Y. Pearson

Benita Y. Pearson

United States District Judge




                                                    Maddy Sinkovich
